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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ABLE HOME HEALTH, LLC,                              )
on behalf of plaintiff and                          )
the class members defined herein,                   )
                                                    )
                      Plaintiff,                    )      20 C 3052
                                                    )
              vs.                                   )      Judge Ellis
                                                    )      Magistrate Judge Cole
VERVE GLOBAL, INC.,                                 )
and JOHN DOES 1-10,                                 )
                                                    )
                      Defendants.                   )

                                    NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Able Home Health, LLC, voluntarily

dismisses its individual claims against Defendant Verve Global, Inc. with prejudice and without

costs. Plaintiff Able Home Health, LLC voluntarily dismisses its class claims against Defendant

Verve Global, Inc. without prejudice and without costs. Plaintiff Able Home Health, LLC

voluntarily dismisses its claims against John Does 1-10 without prejudice and without costs.

                                            Respectfully submitted,

                                            s/ Heather Kolbus
                                            Heather Kolbus


Daniel A. Edelman
Heather Kolbus
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                                CERTIFICATE OF SERVICE
        I, Heather Kolbus, hereby certify that on July 6, 2020, I caused a true and accurate copy
of the foregoing document to be filed with the Court’s CM/ECF system, and to be served via
email and U.S. Mail upon the following:
       Rishi Agrawal - rishi@agrawalfirm.com
       The Agrawal Firm, LLC
       415 North LaSalle Street, Suite 300A
       Chicago, IL 60654

                                             s/ Heather Kolbus
                                             Heather Kolbus


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